                                                Case 24-12030                           Doc 4             Filed 03/11/24                       Page 1 of 1
B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                                         District of Maryland
 In re       Wallace J. Rocheleau                                                                                                                   Case No.
                                                                                                           Debtor(s)                                Chapter    7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ....................................................................                   $                  1,400.00
             Prior to the filing of this statement I have received .......................................................                      $                  1,400.00
             Balance Due ...................................................................................................................    $                      0.00

2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       b. [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     February 28, 2024                                                                                    /s/ David M. Gormley
     Date                                                                                                 David M. Gormley 10859
                                                                                                          Signature of Attorney
                                                                                                          Andrews Bongar Gormley & Clagett, PA
                                                                                                          11705 Berry Road, Suite 202
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                                                                                                          Name of law firm




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